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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                       :
            v.                         :    CRIMINAL NO. 3:23-CR-149
                                       :
DAMIEN BOLAND,                         :
ALFRED ATSUS,                          :
JOSEPH ATSUS AND                       :    JUDGE MANNION
NICHOLAS DOMBEK                        :
                                       :
                  Defendants.          :    ELECTRONICALLY FILED

         JOINT REQUEST FOR PRE-TRIAL DISCLOSURE OF
          CO-CONSPIRATOR STATEMENTS PURSUANT TO
           FED. R. EVID. 801(d)(2)(E) AS TO DEFENDANTS
       DAMIEN BOLAND, ALFRED ATSUS, AND JOSEPH ATSUS

      Defendants Damien Boland, Alfred Atsus, and Joseph Atsus, by and through

their undersigned counsel, hereby respectfully jointly request from the Government

pre-trial disclosure of all co-conspirator statements which the government intends

to admit in its case-in-chief as statements of co-conspirators pursuant to

801(d)(2)(E). United States v. Bobb, 471 F.3d 491, 498 (3d Cir. 2006); United

States v. Gambino, 926 F.2d 1355, 1361 n.5 (3d Cir. 1991); and Bourjaily v.

United States, 483 U.S. 171 (1987).
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      Pursuant to the instructions of the Court, Defendants have identified this

Request as being of a common interest to them. Defendants have therefore filed

this Request jointly, in an effort to narrow and focus the issues that are pending

before the Court.

                                            Respectfully submitted,

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                                            Damien Boland

                                            /s/ Patrick A. Casey
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                                            Attorney for Defendant, Joseph Atsus
Date: July 12, 2024




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                        CERTIFICATE OF SERVICE

      I, Patrick A. Casey, hereby certify that a true and correct copy of the

foregoing Request for Pre-Trial Disclosure of Co-Conspirator Statements Pursuant

to Fed. R. Evid. 801(d)(2)(E) was served upon the following counsel of record via

the Court’s ECF system on this 12th day of July 2024:

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                                            /s/ Patrick A. Casey
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